                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION



UNITED STATES OF AMERICA                      )
                                              )       No. 3-12-00076-05
v.                                            )
                                              )
JEFFREY ANDREW JOHNSON                        )




                                              ORDER


       A hearing is scheduled on Monday, June 24, 2013, at 2:00 p.m., in Courtroom 764, U.S.

Courthouse, 801 Broadway, Nashville, TN to address the Petition submitted by the defendant's

Pretrial Services Officer on June 12, 2013.

       It is so ORDERED.




                                              JULIET GRIFFIN
                                              United States Magistrate Judge




 Case 3:12-cr-00076        Document 195           Filed 06/14/13   Page 1 of 1 PageID #: 528
